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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

                                         )
LILIAN PAHOLA CALDERON JIMENEZ, )
and LUIS GORDILLO, et al.,               )
                                         )
Individually and on behalf of all others )
similarly situated,                      )
                                         )       No. 1:18-cv-10225-MLW
                 Plaintiffs-Petitioners, )
                                         )
        v.                               )
                                         )
CHAD WOLF, Acting Secretary of Homeland )
Security, et al.,                        )
                                         )
                 Defendants-Respondents. )

                     RESPONDENTS’ JANUARY 27, 2020 REPORT

       On January 27, 2020, the Court ordered the Parties to confer and, by 11:00 a.m. report

regarding matters that relate to Petitioners’ Emergency Motion to Enjoin the Removal of Two

Class Members (ECF No. 466). ECF No. 469. In light of the Court’s order scheduling a hearing

for tomorrow, Respondents now report independently in order to inform the Court expeditiously

of the most up-to-date information and request that the Court post-pone the January 28, 2020

hearing.

   a. Respondents will be unable to remove Mr. Rodriguez-Aguasviva and Mr. Rodriguez-

       Oseguera (the “Class Members”) from the United States as originally scheduled due to the

       Court’s January 27, 2020 order preventing Respondents from moving the Class Members

       outside of the District of Massachusetts until Petitioners’ motion has been resolved. See

       ECF No. 469. As a result, Respondents now intend to remove the Class Members from the

       United States no earlier than February 24, 2020. Accordingly, Respondents respectfully
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  request until February 4, 2020, to respond to Petitioners’ motion and that a hearing on

  Petitioners’ motion be scheduled during the week of February 17, 2020.

      Respectfully submitted this 27th day of January 2020.

Counsel for the Respondents
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Assistant Attorney General

WILLIAM C. PEACHEY
Director
Office of Immigration Litigation

LAUREN E. FASCETT
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/s/Mary L. Larakers
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                                CERTIFICATE OF SERVICE
        I, Mary Larakers, Trial Attorney, hereby certify that this document filed through the ECF
system will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants.

                                                    /s/ Mary L. Larakers
                                                    Mary L. Larakers
Dated: January 27, 2020                             Trial Attorney




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